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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
JANSSEN BIOTECH, INC.,                                 )
                Plaintiff,                             )
                                                       )      Case No. 1:17-cv-11008-MLW
                                                       )
v.                                                     )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.                                          )
                  Defendants.                          )
                                                       )

           JANSSEN’S ASSENTED-TO MOTION TO SEAL ITS JUNE 4 FILINGS

         Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal the following

documents filed with the Court on June 4, 2018:

     •   Janssen’s Reply Brief in support of its Motion for Summary Judgment on the Issue of

         Non-Infringing Alternatives (Dkt. No. 324);

     •   Janssen’s Reply 56.1 Statement of Material Facts in Support of its Reply Brief in support

         of its Motion for Summary Judgment on the Issue of Non-Infringing Alternatives

         (“Janssen’s Reply 56.1 Statement”) (Dkt. No. 325);

     •   Exhibits 1-6 to Janssen’s Reply 56.1 Statement (Dkt. No. 325-1);

     •   Janssen’s Oppositions to Defendants’ Motions in Limine Nos. 8, 9, 10, and 11 (Dkt. Nos.

         328, 330, 334);

     •   Declaration of Hui Li in Support of Janssen’s Opposition to Defendants’ Motion in

         Limine No. 11 (Dkt. No. 335);

     •   Exhibits 2-6 and 8-10 to Janssen’s Opposition to Defendants’ Motion in Limine No. 8

         (Dkt. No. 329-4);
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  •   Exhibits 1-11 to Janssen’s Opposition to Defendants’ Motions in Limine Nos. 9/10 (Dkt.

      No. 330-1); and

  •   Exhibits 1-3 and 5-11 to Janssen’s Opposition to Defendants’ Motion in Limine Nos. 11

      (Dkt. No. 335-3).

      In support of this motion, Plaintiff states as follows:

      1. Janssen filed the above-referenced documents today.

      2. These documents contain reference to, and discussion of, certain confidential

         information that may be considered proprietary by the Plaintiff, Defendants, and third

         parties.

      3. To minimize the impact of sealing, Janssen filed redacted versions of its Reply Brief

         in support of its Motion for Summary Judgment on the Issue of Non-Infringing

         Alternatives; its Oppositions to Defendants’ Motions in Limine Nos. 8, 9, 10, and 11,

         and the Declaration of Hui Li in Support of Janssen’s Opposition to Defendants’

         Motion in Limine No. 11 through the Court’s electronic filing system.

      4. The granting of this motion will not prejudice any party.

      5. The Defendants assent to the relief requested.



Dated: June 4, 2018                                Respectfully Submitted,
                                                   JANSSEN BIOTECH, INC.

                                                   By its attorneys,

                                                   /s/ Alison C. Casey

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                                                  Attorneys for Janssen Biotech, Inc.


                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on June 4, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
